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                     individually, and on behalf of others similarly
               12    situated
               13                                 UNITED STATES DISTRICT COURT
               14                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
               15

               16                                                            CASE NO.: 22-cv-05800-AGT
                     RUBIAN SAFLOR, individually, and on
               17    behalf of others similarly situated,
                                                                             PLAINTIFFS’ NOTICE OF
                                    Plaintiff,                               CONDITIONAL SETTLEMENT OF
               18                                                            ENTIRE CASE
               19             vs.

               20    ESA MANAGEMENT, LLC, a Delaware               Complaint Filed:          August 12, 2022
                     limited liability company; and DOES 1 through Trial Date:               None Set
               21    50, inclusive,
               22                   Defendants.

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MATERN L AW GROU P                                                                      NOTICE OF CONDITIONAL SETTLEMENT
 1 2 30 ROSECRANS
 AVENU E, STE 200                                                      -1-                   CASE NO.: 22-cv-05800-AGT
    MANHATT AN
 BEACH, CA 9 0 266
                        Case 3:22-cv-05800-AGT Document 14 Filed 11/06/23 Page 2 of 2



               1     TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
               2            PLEASE TAKE NOTICE that the Plaintiff Rubian Saflor (“Saflor” or “Plaintiff”) and
               3     Defendant ESA Management, LLC (“ESA Management” or “Defendant”) (collectively, the
               4     “Parties”) have agreed to settle the above-referenced lawsuit in its entirety. The Parties are
               5     currently preparing a written settlement agreement to memorialize the terms. Plaintiff intends to
               6     file a Motion for Preliminary Approval following the execution of the long-form agreement.
               7     Plaintiff requests that all remaining dates currently set in this matter be vacated as a result.
               8
                      DATED: November 6, 2023
               9                                                  Respectfully submitted,
              10                                                  MATERN LAW GROUP, PC
              11

              12                                           By:
              13                                                  Matthew J. Matern
                                                                  Joshua D. Boxer
              14                                                  Sara B. Tosdal
                                                                  Beatriz E. Alfaro
              15                                                  Attorneys for Plaintiff
                                                                  RUBIAN SAFLOR, individually, and on
              16                                                  behalf of others similarly situated
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MATERN L AW GROU P
 1 2 30 ROSECRANS                                                                       NOTICE OF CONDITIONAL SETTLEMENT
 AVENU E, STE 200                                                     -2-                    CASE NO.: 22-cv-05800-AGT
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